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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF LOUISIANA
                                 LAKE CHARLES DIVISION
               JACLYN BJORKLUND                      NO. 2:23−CV−01020−JDC−KK

                       VERSUS                        JUDGE JAMES D CAIN, JR

            NOVO NORDISK A/S , et al.                MAGISTRATE JUDGE KATHLEEN KAY



                                NOTICE OF DIVERSITY JURISDICTION
                              DISCLOSURE STATEMENT REQUIREMENT



 NOTICE TO FILER:

 The Complaint − #1 filed by Jaclyn Bjorklund, was the first appearance by this party in an action in which
 jurisdiction is based on diversity under 28 U.S.C. § 1332(a). Federal Rule of Civil Procedure 7.1(a)(2)
 requires a party or intervenor in an action in which jurisdiction is based on diversity under 28 U.S.C. §
 1332(a) to file a disclosure statement that names−−and identifies the citizenship of−−every individual or
 entity whose citizenship is attributed to that party or intervenor. The disclosure statement must be filed with a
 party or intervenor's first appearance after the action is filed in or removed to federal court.

 In removed cases, all parties who have made an appearance in the originating court, including the plaintiffs,
 must file a diversity jurisdiction disclosure statement by the deadline set forth below.

 A diversity jurisdiction disclosure statement must be filed with the Clerk of Court by 8/17/2023 or the
 matter will be referred to the court for further action to enforce compliance. If you feel this notice has
 been issued in error, please submit a document declaring same.

 These are examples of statements that will comply with the rule:

 John Smith, an individual, is domiciled in the state of ____ and therefore a citizen of that state for diversity
 purposes. [An allegation of residency is not sufficient. Midcap Media Finance, LLC v. Pathway Data, Inc.,
 929 F.3d 310, 313 (5th Cir. 2019).]

 ABC, Inc. is a corporation incorporated in the state of ___ and has its principal place of business in the state
 of ___. [28 U.S.C. § 1332(c)(1). Hertz Corp. v. Friend, 130 S.Ct. 1181 (2010) defines principal place of
 business.]

 ABC, LLC is a limited liability company. Its members are (name every member and allege each member's
 citizenship with specificity.) [This may require going through several layers. Rodidaco, Inc. v. Chesapeake
 Energy Louisiana Corp., 2018 WL 3551525 (W.D. La. 2018).]

 ABC Partnership is a partnership. Its partners are (name every partner and allege each partner's citizenship
 with specificity.) [This may require going through several layers. Rodidaco. Both general and limited partners
 must be listed. Whalen v. Carter, 954 F.2d 1087, 1095 (5th Cir. 1992).]

 For questions regarding this document or transmission, please call our CM/ECF help desk at
 1−866−323−1101.

 THUS DONE August 3, 2023.



                                                             TONY R. MOORE
                                                             CLERK OF COURT
